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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 09-cv-01169-ZLW

  SOLOMON B. COHEN,

                         Plaintiff,

  v.

  JOHN LONGSHORE, and
  UNKNOWN MAIL CLERK, El Paso County Sheriff’s Office,

                         Defendants.


                                   ORDER TO CURE DEFICIENCY

  Weinshienk, Senior Judge

         Plaintiff submitted a Notice of Appeal on December 21, 2009. The court has determined that

  the document is deficient as described in this order. Plaintiff will be directed to cure the following

  if he wishes to pursue this appeal.

  (A)    Filing Fee
         X      is not submitted

  (B)    Motion and Affidavit for Leave to Proceed on Appeal Pursuant to 28 U.S.C. § 1915
         and Fed. R. App. P. 24:
          X    is not submitted
               is missing affidavit
               is missing certified copy of prisoner’s trust fund statement for the 6-month period
               immediately preceding this filing
               is missing required financial information
               is missing an original signature by the prisoner
               is not on proper form (must use the court’s current form)
               other

  Accordingly, it is

         ORDERED that Plaintiff cure the deficiencies designated above within 30 days from the

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  date of this order. Any papers that Plaintiff filed in response to this order must include the civil

  action number on this order. It is

         FURTHER ORDERED that the Clerk of the Court mail to Plaintiff, together with a copy

  of this order, an original and one copy of the following forms: Motion and Affidavit for Leave

  to Proceed on Appeal Pursuant to 28 U.S.C. § 1915 and Fed. R. App. P. 24. It is

         FURTHER ORDERED that, if Plaintiff fails to cure the designated deficiencies within 30

  days from the date of this order, the court of appeals will be so notified.

         DATED at Denver, Colorado this 13th day of January, 2010.


                                                 BY THE COURT:



                                                 ZITA LEESON WEINSHIENK, Senior Judge
                                                 United States District Court




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